         Case 6:18-cv-01432-MC         Document 17       Filed 09/19/18     Page 1 of 2




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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION


JANE DOE,
                                                       Civil No. 6:18-cv-01432-MC
                      Plaintiff,
       v.                                            STIPULATION OF VOLUNTARY
                                                     DISMISSAL WITH PREJUDICE
OREGON STATE UNIVERSITY,

                      Defendant.



               STIPULATION OF VOLUNTARY DISMISSAL WITH
            PREJUDICE AND WITHOUT ATTORNEYS’ FEES OR COSTS
       Pursuant to Federal Rules of Civil Procedure 41(A)(1)(ii), and by stipulation of the
parties, Plaintiff hereby dismisses this action it its entirety with prejudice, each party bears




                                                 1
         Case 6:18-cv-01432-MC         Document 17      Filed 09/19/18   Page 2 of 2




his, her or its own attorneys’ fees and costs.
       DATED: September 19, 2018


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